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                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

  PRESS ROBINSON, EDGAR CAGE,
  DOROTHY NAIRNE, EDWIN RENÉ                           Case No. 3:22-cv-00211
  SOULÉ, ALICE WASHINGTON, CLEE
  EARNEST LOWE, DAVANTE LEWIS,
  MARTHA DAVIS, AMBROSE SIMS,
  NATIONAL ASSOCIATION FOR THE
  ADVANCEMENT OF COLORED PEOPLE
  (“NAACP”) LOUISIANA STATE
  CONFERENCE, and POWER COALITION
  FOR EQUITY AND JUSTICE,

                        Plaintiffs,

         v.

  KYLE ARDOIN, in his official capacity as
  Secretary of State for Louisiana,

                        Defendant.

  EDWARD GALMON, SR., CIARA HART,                      Civil Action: 3:22-cv-00214
  NORRIS HENDERSON, and TRAMELLE
  HOWARD,

                        Plaintiffs,

         v.

  R. KYLE ARDOIN, in his official capacity as
  Louisiana Secretary of State,

                        Defendant.


                                           ORDER


       CONSIDERING the foregoing Motion for Admission Pro Hac Vice:

       IT IS ORDERED that the Motion is GRANTED, and Brennan Bowen is hereby enrolled

as additional counsel for the Intervenor-Defendant, State of Louisiana, by and through Attorney
General Jeff Landry, in the above captioned matters.




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      READ SIGNED AND DATED this _____ day of _______________, 2023, in Baton

Rouge, Louisiana.

                               ______________________________________________
                                     UNITED STATES DISTRICT JUDGE




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